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ocALA DIvlsIoN ` " ~ ;
cARLA DEMPSEY,
Plaimiff, cAsE No.; 61'/7/01/';3 7a ~ F¢,- 5¢/’£.¢
-VS-
REGioNs BANK,
Defendant.
/
coMPLAlNT

COMES NOW Plaintiff, CARLA DEMPSEY, by and through the undersigned
counsel, and sues Defendant, REGIONS BANK, and in support thereof respectfully
alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. §227 et seq.
(“'I`CPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. §559.55 et seq.
(“FCCPA”).

INTRODUCTION

l. 'I'he TCPA was enacted to prevent companies like REGIONS BANK,
from invading Arnerican citizen’s privacy and to prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740
(2012).

3. “No one can deny the legitimacy of the state’s goal: Preventing the phone

(at home or in one’s pocket) from frequently ringing with unwanted calls. Every call uses

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some of the phone owner’s time and mental energy, both of which are precious. Most
members of the public want to limit calls, especially cellphone calls, to family and
acquaintances, and to get their political information (not to mention their advertisements)
[*6] in other ways.” Patriotic Veterans v. Zoeller, No. 16-2059, 2017 U.S. App. LEXIS
47, at *5-6 (7th Cir. Jan 3, 2017).

4. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the
*1256 scourge of modern civilization, they wake us up in the moming; they interrupt our
dinner at night; they force the sick and elderly out of bed; they hound us until we want to
rip the telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator l-lollings
presumably intended to give telephone subscribers another option: telling the autodialers
to simply stop calling.” Osorio v. Stale Farm Bank, F.S.B., 746 F. 3d 1242 (l 1th Cir.
2014).

5. According to the Federal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. There are
thousands of complaints to the FCC every month on both telemarketing and robocalls.
The FCC received more than 215,000 TCPA complaints in 2014."

https://apps.fcc.gov/edocs gublic/attachmatch/DOC-S33676A1.pdf.
JURISDICTION AND VENUE

6. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

violations of the TCPA.

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7. Subject matter jurisdiction, federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the
district courts shall have original jurisdiction of all civil actions arising under the
Constitution, laws, or treaties of the United States; and this action involves violations of
47 U.S.C. § 227(b)(1)(A)(iii). See Mz'ms v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)
and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

8. The alleged violations described herein occurred in Citrus County,
Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2),
as it is the judicial district in which a substantial part of the events or omissions giving
rise to this action occurred.

FACTUAL ALLEGATIONS

9. Plaintiff is a natural person, and citizen of the State of Florida, residing in
Homosassa, Citrus County, Florida.

10. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755
F. 3d 1265 (11'h Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th
Cir. 2014).

11. Plaintiff is a “consumer” as defined in Florida Statute 559.55(8).

12. The debt that is the subject matter of this complaint is a “consumer debt”
as defined by Florida Statute §559.55(6).

13. Defendant is a corporation and national association with its principal place

of business located at 1900 Fi&h avenue North Brigham, Alabama, 35203, and which

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conducts business in the State of Florida through its registered agent, Corporation Service
Company located at 1201 Hays Street, Tallahassee Florida 32301.

14. Defendant is a “creditor” as defined in Florida Statute §559.55(5).

15. Plaintiff` is the regular user and carrier of the cellular telephone number at
issue, (352) *** - 1907, and was the called party and recipient of Defendant’s hereinafter
described calls,

16. Defendant placed an exorbitant number of automated calls to Plaintiff`s
cellular telephone (352) *** ~ 1907 in an attempt to collect an alleged debt.

17 . On several occasions over the last four (4) years Plaintiff instructed
Defendant’s agent(s) to stop calling her cellular telephone.

18. Upon receipt of the calls from Defendant, Plaintiff`s caller ID identified
the calls were being initiated from, but not limited to, the following phone numbers:
(205) 451-0859, (800) 289-6720, and when those numbers are called, a pre-recorded
message answers “gracias por llamar a Regions Bank. Para continuar en Espar'iol oprima
dos. Regions Bank may be a debt collector under applicable law. . ..”

19. Upon information and belief, some or all of the calls the Defendant made
to Plaintiff"s cellular telephone number were made using an “automatic telephone dialing
system” which has the capacity to store or produce telephone numbers to be called, using
a random or sequential number generator (including but not limited to a predictive dialer)
or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §
227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that she knew it was an

autodialer because of the vast number of calls she received, and because when she

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answered a call from the Defendant she would hear a pre-recorded message stating the
call was from Regions Bank, and to please hold the line for the next available
representative

20. Furthermore, some or all of the calls at issue were placed by the Defendant
using a “prerecorded voice,” as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

21. None of Defendant’s telephone calls placed to Plaintiff were for
“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

22. In or about March of 2017, Plaintiff returned a call from Defendant, met
with an automated message, held the line and was eventually connected to a live
representative, and informed an agent/representative of Defendant that the calls to her
cellular phone were harassing, and demanded that they cease calling her aforementioned
cellular telephone number.

23. During the aforementioned phone call with Defendant in or about March
of 2017, Plaintiff unequivocally revoked any express consent Defendant had for
placement of telephone calls to Plaintiff's aforementioned cellular telephone number by
the use of an automatic telephone dialing system or a pre-recorded or artificial voice

24. Each subsequent call the Defendant made to the Plaintist aforementioned
cellular telephone number was done so without the “express consent” of the Plaintiff.

25. Each subsequent call the Defendant made to the Plaintiff"s aforementioned
cellular telephone number was knowing and willful.

26. Despite actual knowledge of their wrongdoing, the Defendant continued

the campaign of abuse, calling the Plaintiff despite the Plaintiff revoking any express

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consent the Defendant may have had to call her aforementioned cellular telephone
number.

27. The Plaintiffs request for the harassment to end was ignored.

28. Defendant has placed approximately one-hundred (100) calls to Plaintiff"s
aforementioned cellular telephone number. (Please see attached Exhibit “A”
representing a non-exclusive call log of twenty-two (22) calls received from March 29,
2017 through April 19, 2017).

29. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice to call individuals, just as it did to the
Plaintifi’s cellular telephone in this case,

30. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice, just as it did to the Plaintiff’s cellular
telephone in this case, with no way for the consumer, or Defendant, to remove the
number.

31. Defendant’s corporate policy is structured so as to continue to call
individuals like, Plaintiff; despite these individuals explaining to Defendant they wish for
the calls to stop.

32. Defendant has numerous other federal lawsuits pending against it alleging
similar violations as stated in this Complaint.

33. Defendant has numerous complaints across the country against it asserting

that its automatic telephone dialing system continues to call despite requested to stop.

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34. Defendant has had numerous complaints from consumers across the
country against it asking to not be called; however, Defendant continues to call the
consumers.

35. Defendant’s corporate policy provided no means for the Plaintiff to have
her number removed from the call list.

36. Defendant has a corporate policy to harass and abuse individuals despite
actual knowledge that the called parties do not wish to be called

37. Defendant willfully and/or knowingly violated the TCPA with respect to
the Plaintiff.

38. From each and every call placed without express consent by Defendant to
Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion
upon her right of` seclusion.

39. From each and every call without express consent placed by Defendant to
Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation of her cellular
telephone line and cellular phone by unwelcome calls, making the phone unavailable for
legitimate callers or outgoing calls while the phone was ringing from Defendant call.

40. From each and every call placed without express consent by Defendant to
Plaintiff`s cell phone, Plaintiff suffered the injury of unnecessary expenditure of her time.
Plaintiff had to waste time to deal with missed call notifications and call logs that reflect
the unwanted calls. This also impaired the usefulness of these features of Plaintiff’s
cellular phone, which are designed to inform the user of important missed

communications

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41. Each and every call placed without express consent by Defendant to
Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to the
Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of
answering them. Even for unanswered calls, Plaintiff had to deal with missed call
notifications and call logs that reflected the unwanted calls, This also impaired the
usefulness of these features of Plaintist cellular phone, which are designed to inform the
user of important missed communications

42. Each and every call placed without express consent by Defendant to
Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to Plaintiff.
For calls that were answered, Plaintiff had to go to the unnecessary trouble of answering
them. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal
with missed call notifications and call logs that reflected the unwanted calls This also
impaired the usefulness of these features of Plaintiff’s cellular phone, which are designed
to inform the user of important missed communications

43. Each and every call placed without express consent by Defendant to
Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell
phone’s battery power.

44. Each and every call placed without express consent by Defendant to
Plaintist cell phone resulted in the injury of a trespass to Plaintist chattel, namely her

cellular phone and her cellular phone services

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45. As a result of the calls described above, Plaintiff suffered an invasion of
privacy. Plaintiff was also affected in a personal and individualized way by stress,
anxiety, and aggravation.

coUNTI
(violation of the TCPA)

46. Plaintiff fully incorporates and realleges paragraphs one (1) through forty-
five (45) as if fully set forth herein.

47. Defendant willfully violated the TCPA with respect to the Plaintiff,
especially for each of the auto-dialer calls made to Plaintiff’s cellular telephone after
Plaintiff notified Defendant that she wished for the calls to stop.

48. Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s
cellular telephone using an automatic telephone dialing system or prerecorded or artificial
voice without Plaintiff’s prior express consent in violation of federal law, including 47
U.S.C § 227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against Defendant, REGIONS BANK, for statutory damages,
punitive damages, actual damages treble damages, enjoinder from further violations of
these parts and any other such relief the court may deem just and proper.

COUN'l` Il
(Violation of the FCCPA)

49. Plaintiff fully incorporates and realleges paragraphs one (l) through forty-

five (45) as if fully set forth herein.

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50. At all times relevant to this action, Defendant is subject to and must abide
by the laws of the State of Florida, including Florida Statute § 559.72.

51. Defendant has violated Florida Statute §559.72(7) by willfully
communicating with the alleged debtor or any member of her or her family with such
frequency as can reasonably be expected to harass the alleged debtor or her or her family.

52. Defendant has violated Florida Statute §559.72(7) by willfully engaging in
other conduct which can reasonably be expected to abuse or harass the alleged debtor or
any member of her or her family.

53. Defendant’s actions have directly and proximately resulted in Plaintiff’s
prior and continuous sustaining of damages as described by Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against Defendant, REGIONS BANK, for statutory damages
punitive damages, actual damages, costs, interest, attorney fees, enjoinder from further
violations of these parts and any other such relief the court may deem just and proper.

Respectfully submitted,

 

OCTAVIO GOMEZ, ESQUIRE

Florida Bar No. 33 8620

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Email: TGomez@ForThePeople.com

Secondary: PMitchell@ForThePeople.com
Attorneyfor Plaintiff

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Phone Call Log for (352) ***-1907

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Time Caller
1. 03/29/2017 12:19 am (205) 451-0859
2. 03/29/2017 01 :38 pm (205) 451-0859
3. 03/31/2017 11:57 am (205) 451-0859
4. 04/07/2017 03:02 pm (205) 451-0859
5. 04/10/2017 02:40 pm (205) 451-0859
6. 04/10/2017 04:44 pm (205) 451-0859
7. 04/11/2017 11:43 am (205) 451-0859
8. 04/11/2017 12:52 pm (205) 451-0859
9. 04/12/2017 01 :29 pm (205) 451-0859
10. 04/12/2017 02:11 pm (205) 451-0859
11. 04/12/2017 05:06 pm (205) 451-0859
12. 04/13/2017 01 :31 pm (205) 451-0859
13. 04/13/2017 03:14 pm (205) 451-0859
14. 04/13/2017 04:33 pm (205) 451-0859
15. 04/14/2017 11:50 am (205) 451-0859
16. 04/14/2017 12:47 pm (205) 451-0859
17. 04/17/2017 01 :32 pm (205) 451-0859
18. 04/17/2017 03:10 pm (205) 451-0859
19. 04/18/2017 12:06 pm (205) 451-0859
20. 04/18/2017 01 :33 pm (205) 451-0859
21. 04/19/2017 02:30 pm (205) 451-0859
22. 04/19/2017 01 :09 prn (205) 451-0859

 

 

 

 

 

 

 

EXHIBIT “A”

 

 

